                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


                                             USDC Docket Number: 25cv10676-BEM
                                             USCA Docket Number: _________________
                                                                  25-1311




                             ______________________________
                                         D.V.D ET AL




                                                 v.

                             ______________________________
                             U.S. DEPARTMENT OF HOMELAND SECURITY ET AL




         CLERK’S SUPPLEMENTAL CERTIFICATE OF THE RECORD ON APPEAL

      I, Robert M. Farrell, Clerk of the United States District Court for the District of
Massachusetts, do hereby certify that the annexed ____ paper documents ____X  electronic
documents:

Main Documents:
       Document Numbers: ____________________________________________________
                         ECF NOS. 40 AND 41


Other Documents:
       Sealed Records:
       Document Numbers: ____________________________________________________

       Ex parte Records:
       Document Numbers: ____________________________________________________


are to be included with the record on appeal in the above entitled case.

       In testimony whereof, I hereunto set my hand and affix the seal of this Court on
_____________.
MARCH 29, 2025


                                                      ROBERT M. FARRELL
                                                      Clerk of Court


                                               By: ______________________________________
                                                   /s/MATTHEW A. PAINE

                                                      Deputy Clerk


Receipt of the documents in the above entitled case is hereby acknowledged this date:
______________.

                                                      ______________________________________
                                                      Deputy Clerk, US Court of Appeals
